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 8                                UNITED STATES DISTRICT COURT
 9                               CENTRAL DISTRICT OF CALIFORNIA
10
11   ANTHONY BOUYER,                                  No. CV 20-7802 PA (AFMx)

12                  Plaintiff,                        JUDGMENT OF DISMISSAL
            v.
13
     LAXMI HOSPITALITY LLC; and
14   DOES 1-10, inclusive,

15                  Defendants.

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19          In accordance with the Court’s December 9, 2020 Order denying the Motion for
20   Default Judgment filed by plaintiff Anthony Bouyer (“Plaintiff”), which dismissed
21   Plaintiff’s federal claim for lack of subject matter jurisdiction as a result of Plaintiff’s lack
22   of standing, and declined to exercise supplemental jurisdiction over the state law claim
23   contained in Plaintiff’s Complaint, it is HEREBY ORDERED, ADJUDGED, AND
24   DECREED that this action is dismissed without prejudice.
25
26   DATED: December 9, 2020
                                                          __________________________________
27                                                                   Percy Anderson
                                                                United States District Judge
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